         Case 1:20-cv-02250-RJL Document 15 Filed 09/01/20 Page 1 of 15




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                            |
SALVATORE MANCUSO GOMEZ,                    |
                                            |
       Petitioner,                          |   Civil Action No.: 20-2250 (RJL)
                                            |
       v.                                   |
                                            |
CHAD F. WOLF, Acting Secretary,             |
U.S. Dept. of Homeland Security, et al.,    |
                                            |
       Respondents.                         |
                                            |

            RESPONDENTS’ RESPONSE TO MOTION TO VACATE STAY AND
                             PRE-HEARING BRIEF
             Case 1:20-cv-02250-RJL Document 15 Filed 09/01/20 Page 2 of 15




                                                    TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1
ARGUMENT .................................................................................................................................. 1
I.        Response to Petitioner’s Motion to Vacate Stay................................................................. 1
          A.         Respondents Have Been Forthright with the Court and Petitioner ......................... 1
          B.         Petitioner Is Currently Subjected to Removal, Not Extradition ............................. 4
II.       Petitioner Is Not Entitled to a Temporary Restraining Order ............................................. 6
          A.         Standard of Review ................................................................................................. 6
          B.         Petitioner Is Not Likely to Succeed on the Merits .................................................. 7
          C.         The Court Lacks Jurisdiction to Grant the Relief Sought ..................................... 10
          D.         Petitioner Has Administrative Remedies Available ............................................. 10
CONCLUSION ............................................................................................................................. 13
         Case 1:20-cv-02250-RJL Document 15 Filed 09/01/20 Page 3 of 15




       Respondents, through undersigned counsel, hereby submit this combined (i) Response to

Petitioner’s Emergency Motion to Vacate Stay of Proceedings and for An Immediate Hearing on

Petitioner’s Motion for Temporary Restraining Order (“Motion to Vacate”); and (ii) Pre-Hearing

Memorandum advising the Court of some of Respondent’s arguments in opposition to Petitioner’s

request for a Temporary Restraining Order (“TRO”).

                                        INTRODUCTION

       The Court should deny Petitioner’s Motion to Vacate Stay, which seeks an Order

(i) mandating that the United States take the action of immediately removing him to Italy or

releasing him so that he can make his own travel arrangements to Italy; and (ii) prohibiting the

United States from removing him to any other country, including Colombia. First, Petitioner’s

claim that Respondents misled him or the Court are baseless. Respondents repeatedly informed

Petitioner (including in a document filed with the Court) that Petitioner’s country of removal could

be changed. Second, Petitioner’s argument that extradition is improper is misplaced because

Petitioner appears to conflate removal with extradition. Petitioner is currently scheduled for

removal — not extradition. Third, Petitioner is not likely to succeed on the merits of his claims

because (1) his period of detention is presumptively reasonable and reasonable efforts are being

made to remove him; (2) his arguments regarding extradition are misplaced as he is not being

extradited; (3) 8 U.S.C. § 1252(g) strips this Court of jurisdiction to consider Petitioner’s request;

and (4) Petitioner has not exhausted his administrative remedies.

                                           ARGUMENT

I.     RESPONSE TO PETITIONER’S MOTION TO VACATE STAY

       A.      Respondents Have Been Forthright with the Court and Petitioner

       Contrary to Petitioner’s accusations in his Motion to Vacate Stay of Proceedings [ECF

No. 13], neither Respondents nor their counsel have misled the Court or Petitioner. Prior to the
         Case 1:20-cv-02250-RJL Document 15 Filed 09/01/20 Page 4 of 15




August 24, 2020, hearing, Respondents were clear that, at that time, Petitioner was scheduled to

be removed to Italy no later than September 4, 2020, and a date certain had been set for his removal

to Italy.1 No representation was made at that time or any other that Petitioner’s country of removal

could not be changed. Indeed, it is always possible that a country of removal will be changed.

Petitioner then suggested that the parties file a document with the Court advising it that

Respondents had informed Petitioner that he was scheduled to be removed to Italy no later than

September 4, 2020. Petitioner prepared the first draft of the proposed order that was submitted to

the Court on August 24, 2020, prior to the hearing.

       In its revisions to the draft document and conversations regarding the revisions,

Respondents made clear that Petitioner was then “currently scheduled” to be removed to Italy by

September 4, 2020, but Respondents left open the possibility that a change might occur, insisting

that the proposed order contain the language that “should a decision be made to remove Petitioner

to another country, he would be provided at least 14 days’ advance notice.” Petitioner agreed to

this language. This language clearly indicated that Petitioner may not be removed to Italy by

September 4, 2020, but may instead be removed “to another country,” and that such a change could

be due to a “decision” by Respondents. If it were not possible that Respondents would change the

country of designation, there would be no reason to include this language.

       During the August 24, 2020, hearing, in response to the Court’s question of whether “this

is all going to be done by [September] 4th supposedly,” Respondents responded affirmatively

because, at the time of the hearing, Petitioner was still scheduled to be removed to Italy no later




1
       The exact date of planned removal was not disclosed publicly or to Petitioner for security
reasons, but Respondents had advised undersigned counsel of the specific date Petitioner was
scheduled to be removed to Italy.


                                                 2
         Case 1:20-cv-02250-RJL Document 15 Filed 09/01/20 Page 5 of 15




than September 4, 2020. That was an accurate characterization of the situation at the time because

no decision had been made whether to change Petitioner’s country of removal.

       Since the August 24, 2020, hearing, Respondents have continued to be straightforward with

Petitioner about the status of Petitioner’s removal to Italy. Notably, on August 27, 2020, Petitioner

inquired of Respondents whether “Mr. Mancuso’s removal to Italy continues to be in place and

moving forward,” and he noted that the “question [was] spurred because [they] ha[d] received

information . . . telling [them] that the US government is actively engaged in assisting, and

coordinating with, Colombia’s effort to extradite Mr. Mancuso.” Petitioner asserted that, if

Respondents were taking such actions, this would be “inconsistent with [Petitioner’s]

understanding of [the parties’] agreements, and representations to [the Court].” Respondents were

truthful and unequivocal in their response that Petitioner was still scheduled to be removed but

that removal to Italy was not certain. Respondents’ email stated, in relevant part:

       Neither my clients nor I have done anything to mislead you or the Court. To be
       clear, our representation to you and the Court was that: “Petitioner is currently
       scheduled to be removed from the United States to Italy . . . no later than Friday,
       September 4, 2020; and . . . that should a decision be made to remove Petitioner to
       another country, Petitioner would be provided at least 14 days advance notice.”
       Those representations were and remain true.

       Mr. Mancuso is still currently scheduled for removal to Italy no later than
       September 4, 2020. No representation was made or is being made regarding the
       existence or non-existence of communications inside the US government or with
       other countries regarding removal or extradition. Until an alien is removed, it is
       always possible that a change will be made. Accordingly, we did not and would
       not represent that no change is possible. As we previously said, should a decision
       be made to remove Mr. Mancuso to another country, he will be provided at least 14
       days advance notice.

Def’s Ex. 1 (8/27/2020 Email). Notably, Respondents twice noted that a decision could be made

to remove Petitioner to another country and emphasized that no representations had been or were




                                                 3
         Case 1:20-cv-02250-RJL Document 15 Filed 09/01/20 Page 6 of 15




being made to the contrary. It also reiterated that “it is always possible that a change [to the country

of removal] will be made.”

       On Friday, August 28, 2020, Petitioner again contacted Respondents asking for a status

update because Petitioner had been moved to another holding facility. Because Petitioner was still

scheduled for removal to Italy at that time, Respondents again responded truthfully that “[a]ll

representations made were and are true. As we previously said, should a decision be made to

remove Mr. Mancuso to another country, he will be provided at least 14 days advance notice.”

Again, reiterating and reminding Petitioner that his country of removal could be changed.

       On Saturday, August 29, 2020, the Acting Secretary of Homeland Security made a

determination that removal of Petitioner to Italy would be “prejudicial to the United States” under

8 USC § 1231(b)(2)(C)(iv), and that his removal to Italy—which had previously been scheduled

for the following day—would no longer take place. Petitioner and his counsel were both served

with a Notice of Change of Country of Removal (“Notice of Change”) on August 29, 2020.

       These facts reflect that neither Respondents nor their counsel misled the Court or Petitioner

or otherwise make disingenuous representations.

       B.      Petitioner Is Currently Subjected to Removal, Not Extradition

       Petitioner’s Motion to Vacate appears to conflate removal to Colombia with extradition to

Colombia. The Notice of Change that Petitioner was served on August 29, 2020, relates to his

return to Colombia through the immigration process, not his return to Colombia through

extradition. Immigration proceedings and extradition proceedings are fundamentally “separate

and independent” from each other. Noeller v. Wojdylo, 922 F.3d 797, 809 (7th Cir. 2019);

Barapind v. Reno, 225 F.3d 1100, 1106 (9th Cir. 2000) (same); Matter of McMullen, 17 I&N Dec.

542, 548 (B.I.A. 1980) (same); see also Sandhu v. Reno, No. 96-5245, 1996 U.S. App. LEXIS

24130, at *3 (D.C. Cir. Aug. 9, 1996) (noting that “there is legal precedent for the government’s


                                                   4
           Case 1:20-cv-02250-RJL Document 15 Filed 09/01/20 Page 7 of 15




claim that extradition and asylum proceedings are separate proceedings”). The proceedings

originate from different sources of authority, are driven by different goals, and involve entirely

separate procedures. Extradition proceedings address the return of fugitives to face trial or serve

time for serious crimes charged by a separate sovereign and are governed by the applicable treaty

between the United States and the state requesting extradition, the extradition statute contained in

18 U.S.C. § 3181 et seq., and the case law developed thereunder. Immigration proceedings, on

the other hand, address the removal of aliens from the United States pursuant to the Immigration

and Nationality Act. Additionally, while the U.S. Secretary of State makes a final decision with

respect to extradition, see 18 U.S.C. § 3186, immigration decisions fall within the purview of the

Attorney General and the Secretary of the Department of Homeland Security, see, e.g., 8 U.S.C.

§ 1103.

       Thus, even if the “United States and Colombian government officials took advantage of

the stay of proceedings to actively assist Colombia in a last-ditch effort to resuscitate [Colombia’s]

previously failed extradition request,” as Petitioner alleges (Mot. at 6), Petitioner was not affected

by any such efforts, because the United States has not moved forward with any new or resuscitated

extradition attempt. Further, working with Colombia to perfect any request for Mancuso’s

extradition could only have resulted in Petitioner’s arrest for purposes of extradition pursuant to

the federal extradition statute, 18 U.S.C. § 3184, which did not happen, and not his designation for

removal to Colombia, which did happen.

          Additionally, while Petitioner’s Motion (at 5) complains that the Notice of Change “did

not reference an arrest warrant, nor an extradition warrant, from Colombia,” this is irrelevant.

Although Mancuso’s extradition to Colombia would require the existence of certain documents

from criminal proceedings in Colombia, see Extradition Treaty with the Republic of Colombia,




                                                  5
         Case 1:20-cv-02250-RJL Document 15 Filed 09/01/20 Page 8 of 15




art. 9, U.S.-Colom., Sept. 14, 1979, S. Treaty Doc. No. 97-8 (1981)), there is no similar

requirement for Mancuso’s removal to Colombia.

II.    PETITIONER IS NOT ENTITLED TO A TEMPORARY RESTRAINING
       ORDER2

       A.      Standard of Review

       A temporary restraining order “is an extraordinary, if not drastic, remedy.” Nat’l Treasury

Emps. Union v. United States, Civ. A. No. 19-51, 2019 WL 266381, at *2 (D.D.C. Jan. 18, 2019).

It is “reserved for cases where Petitioners will suffer irreparable injury before a preliminary

injunction hearing is even held.” Id. “An application for a TRO is analyzed using factors

applicable to preliminary injunctive relief.” Dunlap v. Presidential Advisory Comm’n on Election

Integrity, 319 F. Supp. 3d 70, 81 (D.D.C. 2018).

       To obtain a preliminary injunction, the movant must establish:

       (1) that it has a strong likelihood of success on the merits, (2) that it will suffer
       irreparable injury if injunctive relief is denied, (3) that other interested parties will
       not suffer substantial harm if injunctive relief is granted, and (4) that the public
       interest favors the granting of injunctive relief, (or at least, that the granting of
       injunctive relief is not adverse to the public interest).

Paleteria La Michoacana, Inc., et al. v. Productos Lacteos Tocumbo S.A. de C.V., 901 F. Supp. 2d

54, 56 (D.D.C. 2012) (citing Wash. Metro. Area Transit Comm’n v. Holiday Tours, Inc., 559 F.2d

841, 843 (D.C. Cir. 1977)). “This remedy should only be granted if the party that moves for a

preliminary injunction makes ‘a clear showing that [the] four factors, taken together, warrant

relief.’” Proctor v. District of Columbia, 310 F. Supp. 3d 107, 113 (D.D.C. 2018) (quoting League

of Women Voters of the U.S. v. Newby, 838 F.3d 1, 6 (D.C. Cir. 2016)).



2
       Respondents respectfully reserve the right to present additional and more fully developed
arguments during the hearing on Plaintiff’s motion, including (but not limited to) addressing all
four factors of the temporary restraining order analysis. Given the limited time involved with
TROs, Respondents are unable to fully brief every issue.


                                                  6
         Case 1:20-cv-02250-RJL Document 15 Filed 09/01/20 Page 9 of 15




       Before the Supreme Court’s decision in Winter v. Natural Resources Defense Council, Inc.,

555 U.S. 7 (2008), “courts weighed these factors on a ‘sliding scale,’ allowing ‘an unusually strong

showing on one of the factors’ to overcome a weaker showing on another.” Damus v. Nielsen,

Civ. A. No. 18-0578 (JEB), 2018 WL 3232515, at *4 (D.D.C. July 2, 2018) (quoting Davis v.

PBGC, 571 F.3d 1288, 1291-92 (D.C. Cir. 2009)). This Circuit has suggested, without deciding,

that Winter “should be read to abandon the sliding-scale analysis in favor of a ‘more demanding

burden’ requiring Plaintiffs to independently demonstrate both a likelihood of success on the

merits and irreparable harm.” Bartko v. Dep’t of Justice, Civ. A. No. 13-1135 (JEB), 2015 WL

13673371, at *1 (D.D.C. Mar. 12, 2015) (citing Sherley v. Sebelius, 644 F.3d 388, 392-93 (D.C.

Cir. 2011), and Davis, 571 F.3d at 1292).

       Significantly, where, as here, “an injunction is mandatory – that is, where its terms would

alter, rather than preserve, the status quo by commanding some positive act – the moving party

must meet a higher standard than in the ordinary case by showing clearly that he or she is entitled

to relief or that extreme or very serious damage will result from the denial of the injunction.”

Columbia Hosp. for Women Found., Inc. v. Bank of Tokyo-Mitsubishi Ltd., 15 F. Supp. 2d 1, 4

(D.D.C. 1997) (internal quotation marks omitted)), aff’d, 159 F.3d 636 (D.C. Cir. 1998); see also

Paleteria La Michoacana, 901 F. Supp. 2d at 56-57 (“If the requested relief “would alter, not

preserve, the status quo,” the court must subject the Petitioner’s claim to a somewhat higher

standard. Petitioners seeking this type of relief therefore face “an additional hurdle” when proving

their entitlement to relief.” (internal citations omitted)). Petitioner cannot meet this high burden.

As such, the Court should deny the motion for a TRO.

       B.      Petitioner Is Not Likely to Succeed on the Merits

       Petitioner seeks an Order from this Court (i) mandating that the United States take the

action of immediately removing him to Italy or releasing him so that he can make his own travel


                                                 7
         Case 1:20-cv-02250-RJL Document 15 Filed 09/01/20 Page 10 of 15




arrangements to Italy; and (ii) prohibiting the United States from removing him to any other

country, including Colombia. ECF No. 1 at 20 (Compl.); ECF No 6 at 3 (Pl’s App. for TRO).

Petitioner is not entitled to the relief sought.

                1.      Request for Order Mandating Immediate Release or Removal to Italy

        Petitioner’s primary argument seeking removal to Italy or release from custody is that he

has been detained longer than the 90-day period allotted in 8 U.S.C. § 1231(a)(1), which instructs

that

        Except as otherwise provided in this section, when an alien is ordered removed, the
        Attorney General shall remove the alien from the United States within a period of
        90 days (in this section referred to as the “removal period”).

Petitioner ignores that 8 U.S.C. § 1231(a)(6) and Supreme Court precedent permit the continued

detention of removable aliens – including Petitioner – for a reasonable period needed to effect their

removal. Section 1231(a)(6) of the Immigration and Nationality Act as amended (“INA”), which

applies to “[i]nadmissible or criminal aliens,” instructs that:

        An alien ordered removed who is inadmissible under section 1182 of this title,
        removable under section 1227(a)(1)(C), 1227(a)(2), or 1227(a)(4) of this title or
        who has been determined by the Attorney General to be a risk to the community or
        unlikely to comply with the order of removal, may be detained beyond the removal
        period and, if released, shall be subject to the terms of supervision in paragraph (3).

It is undisputed that Petitioner is “deportable as an alien convicted of an aggravated felony pursuant

to section 237(a)(2)(A)(iii) of the [INA], 8 U.S.C. 1227(a)(2)(A)(iii).” See Def’s Ex. 2 (Pl’s Order

of Removal, dated 4/15/2020). Thus, pursuant to the plain language of INA Section 1231(a)(6),

he can be detained beyond the removal period.

        In Zadvydas v. Davis, 533 U.S. 678 (2001), the U.S. Supreme Court held that an alien who

is subject to removal for commission of aggravated felonies can be detained beyond the 90-day

removal period for the reasonable period of time that it takes to effect his removal, and that

anything falling within a six-month period from the date of the Order of Removal is considered



                                                   8
         Case 1:20-cv-02250-RJL Document 15 Filed 09/01/20 Page 11 of 15




presumptively reasonable as long as reasonable efforts are being made to remove the alien. Id.

at 700-01. In Clark v. Martinez, 543 U.S. 371 (2005), the Supreme Court reiterated this six-month

presumptive reasonableness standard and expanded its application to all classes of alien falling

within the purview of Section 1231(a)(6), regardless of whether those aliens have been admitted

to the country. Id. at 380-381.

       Petitioner’s Pre-Hearing Memorandum [ECF No. 10] argues that “[t]oday, Mr. Mancuso

faces a period of indefinite detention,” (Memo. at 4), but this simply is not the case and he can

point to no evidence in support of this assertion. Indeed, the same Pre-Hearing Memorandum

(at 3) has calculated the time that Petitioner has been detained and, as of the filing of this brief and

taking into account the tolling of the number of days of removal that occurred during extradition

proceedings, Petitioner will have been detained only 18 days beyond the 90-day time set in INA

Section 1231(a)(1). Moreover, the events of the last several days reflect that removal efforts are

underway. Indeed, the delay at this point is not caused by Respondents but by Plaintiff’s own

actions in seeking to contest his removal to Colombia. As previously noted, Petitioner was

originally slated to be removed to Italy no later than September 4, 2020. Petitioner was notified

on August 29, 2020, that the Acting Secretary of Homeland Security has determined that Petitioner

should instead be removed to Colombia. It is clear from these actions that reasonable steps are

being taken to remove Petitioner; thus, any argument that he is subject to indefinite detention is

simply not credible. Petitioner should not be allowed to benefit from his own decision to contest

removal to Colombia.

               2.      Request for Order Prohibiting Removal to Any Other Country,
                       Including Colombia

       Neither Petitioner’s Complaint, Pre-Hearing Memorandum, nor Motion to Vacate

articulate a basis for issuance of an Order prohibiting removal to another country, including



                                                   9
        Case 1:20-cv-02250-RJL Document 15 Filed 09/01/20 Page 12 of 15




Colombia. The only argument put forth in this regard is Petitioner’s assertion that Petitioner

should not be subject to going to Colombia because the Colombian government has not produced

a proper extradition request or arrest warrant. See Mot. to Vacate at 5; Pre-Hearing Memo.

at 6-7, 9. As previously noted, however, Petitioner is being removed to Colombia through the

immigration process, not as part of an extradition request; thus, no extradition request or arrest

warrant is necessary.

       C.      The Court Lacks Jurisdiction to Grant the Relief Sought

       This Court lacks jurisdiction to consider Petitioner’s request for an Order mandating his

immediate removal to Italy and prohibiting removal to another country. In relevant part, 8 U.S.C.

§ 1252(g) states:

       Except as provided in this section and notwithstanding any other provision of law
       (statutory or nonstatutory), including section 2241 of Title 28, or any other habeas
       corpus provision, and sections 1361 and 1651 of such title, no court shall have
       jurisdiction to hear any cause or claim by or on behalf of any alien arising from the
       decision or action by the Attorney General to commence proceedings, adjudicate
       cases, or execute removal orders against any alien under this chapter.

8 U.S.C. § 1252(g) (emphasis added). Petitioner’s removal is being executed pursuant to 8 U.S.C.

§ 1231, which is part of 8 U.S.C. Chapter 12—the chapter identified in 8 U.S.C. § 1252.

Petitioner’s request that the Court mandate the country and timing of his removal falls squarely

within the type of action that § 1252(g) bars from judicial review. See Duamutef v. INS, 386 F.3d

172, 180-81 (2d Cir. 2004) (affirming jurisdictional bar on review of alien’s claim seeking to force

government to execute deportation order).

       D.      Petitioner Has Administrative Remedies Available

       To the extent that Petitioner will now argue that a TRO or preliminary injunction is

necessary to prevent his immediate removal to Colombia, this is inaccurate because Petitioner will

not be removed to Columbia until he has exhausted his administrative right to seek withholding or




                                                10
         Case 1:20-cv-02250-RJL Document 15 Filed 09/01/20 Page 13 of 15




deferral of removal, i.e., to seek review of the Acting Secretary’s decision. Petitioner is subject to

an administrative final order of removal issued pursuant to 8 U.S.C. § 1228(b). Aliens subject to

an administrative final order pursuant to 8 U.S.C. § 1228(b) are able to seek withholding of

removal from the designated country of removal. See 8 U.S.C. § 1228(f)(3). On August 29, 2020,

Immigration and Customs Enforcement (“ICE”) served Petitioner and his counsel with the Notice

of Change, which informed him that he will be processed for removal to Colombia, subject to any

timely claim for withholding of removal that he wishes to make. 8 C.F.R. § 238.1(c). During this

process, Petitioner was affirmatively advised that he may request withholding of removal to a

particular country if he fears persecution or torture in that country. 8 C.F.R. § 238.1(c)(1). Should

an alien indicate such a fear, he would be referred to an asylum officer from U.S. Citizenship and

Immigration Services (“USCIS”) for a reasonable fear determination in accordance with federal

regulations. Id. §§ 238.1(f)(3), 208.31.

       If the asylum officer were to determine that such alien does not have a reasonable fear of

persecution or torture in the country designated for removal, the alien may request review of that

determination by an immigration judge. Id. § 208.31(g). In this context, the immigration judge’s

concurrence with a negative fear determination is final and no appeal right exists. Id; see also

United States v. Thuraissigiam, 140 S. Ct. 1959, 1983 (2020) (bar on judicial review of negative

fear determinations in expedited removal proceedings, combined with the limitations on habeas

review in 8 U.S.C. § 1252(e)(2), do not violate the Suspension Clause). If the immigration judge

concurs with the determination by USCIS that an alien has failed to establish a reasonable fear,

the case is returned to the Department of Homeland Security for execution of the removal order,

and no administrative appeal is available. Id. § 1208.31(g)(1).




                                                 11
         Case 1:20-cv-02250-RJL Document 15 Filed 09/01/20 Page 14 of 15




        In contrast, if the asylum officer were to determine that such alien has a reasonable fear of

persecution or torture in the country designated for removal, or if the immigration judge disagrees

with a negative reasonable fear determination, such alien is referred for withholding-only

proceedings under 8 U.S.C. § 1231(b)(3) or protection under the Convention Against Torture

(“CAT”). 8 C.F.R. §§ 208.31(e), 1208.16(c). If such alien is barred from withholding of removal

under 8 U.S.C. § 1231(b)(3)(B), he may still apply for deferral of removal under the CAT. 8

C.F.R. § 1208.17(b). In withholding-only proceedings, the immigration judge’s jurisdiction is

limited to a determination of whether the alien is eligible for statutory withholding or withholding

or deferral of removal under the CAT. Id. § 1208.2(c)(3)(i). Throughout these proceedings,

“parties are prohibited from raising or considering any other issues, including but not limited to

issues of admissibility, deportability, eligibility for waivers, and eligibility for any other form of

relief.” Id.

        If the immigration judge denies withholding of removal or deferral of removal under CAT,

an alien may seek review of the immigration judge’s decision with the Board of Immigration

Appeals. See 8 C.F.R. § 1208.31(g)(2). If the Board of Immigration Appeals (“BIA”) affirms that

denial, the alien may file a petition for review with the appropriate circuit court within 30 days of

any BIA decision. 8 U.S.C. § 1252. In this case, the U.S. Court of Appeals for the Eleventh

Circuit would have proper jurisdiction over any petition for review challenging such a denial,

because Mr. Mancuso’s administrative removal order was issued in Georgia, he has been detained

in ICE custody in Georgia, and any referral or review of a reasonable fear determination would go

before an immigration judge in the Atlanta area.         See 8 U.S.C. § 1252(b)(2); 8 C.F.R. §

1208.31(e), (g).




                                                 12
        Case 1:20-cv-02250-RJL Document 15 Filed 09/01/20 Page 15 of 15




                                      CONCLUSION

       For the foregoing reasons, Respondents respectfully request that the Court deny

Petitioner’s Motion for Temporary Restraining Order.

Dated: September 1, 2020             Respectfully submitted,

                                     MICHAEL R. SHERWIN
                                     United States Attorney

                                     DANIEL F. VANHORN, D.C. Bar No. 924092
                                     Chief, Civil Division

                                 By: /s/ April Denise Seabrook
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                                             13
